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           Exhibit A
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                      5-4-12 CLAYTON, IVAN
                                                                   1



 1                    UNITED STATES DISTRICT COURT
 2                      DISTRICT OF CONNECTICUT

 3
 4       ____________________________
                                     :   CIVIL ACTION NO.
 5       GEORGE BROWN,               :   3:11-CV-00714(JCH)
                                     :
 6                     PLAINTIFF     :
                                     :
 7                                   :
              -vs-                   :
 8                                   :
         IVAN J. CLAYTON,            :
 9                                   :
                       DEFENDANT     :
10       ____________________________:

11
12

13

14                              ROUGH DRAFT

15                      DEPOSITION OF: IVAN J. CLAYTON
                        DATE TAKEN:    MAY 4, 2012
16                      TIME:          10:00 AM
                        LOCATION:      THE OFFICE OF THE CITY
17                                     ATTORNEY
                                       999 BROAD STREET
18                                     BRIDGEPORT, CT. 06604

19
20
21
                REPORTER:   JODY-ANN ASHIELFIE, LSR#SHR502
22

23                BRANDON SMITH REPORTING & VIDEO, LLC
24
                             (860)549-1850
25
                                                                   2



 1                            APPEARANCES

 2

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 3       REPRESENTING THE PLAINTIFF:
 4       LAW OFFICES OF SALLY A. ROBERTS
         11 Franklin Square
 5       New Britain, CT. 06501
         (860)328-0767
 6
         BY:   SALLY A. ROBERTS, ESQ.
 7             sallyroberts@sallyrobertslegal.com

 8
 9       REPRESENTING THE DEFENDANT:
10       LAW OFFICES OF THE CITY ATTORNEY
         999 Broad Street
11       Bridgeport, CT. 06604
         (203)576-3940
12
         BY:   BETSY EDWARDS, ESQ.
13             betsy.edwards@bridgeportct.gov

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 3        WITNESS                                         PAGE
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 9
10       PLAINTIFF'S   EXHIBITS:                         PAGE
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23           (All exhibits marked during the deposition were
     retained by Attorney Roberts.)
24

25
                                                                   4


 1                            STIPULATIONS
 2

 3             It is stipulated by the Attorneys for the Plaintiff

 4   and the Defendant that all objections are reserved until the
 5   time of the trial, except those objections as are directed to
 6   the form of the question.

 7
 8             It is stipulated and agreed between counsel for the
 9   parties that the proof of the authority of the Commissioner

10   before whom this deposition is taken is waived.
11

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12             It is further stipulated that any defects in the
13   notice are waived.
14

15             It is further stipulated that the reading and
16   signing of the deposition transcript by the witness is waived.

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 1                 (Deposition commenced 11: 15 am.)

 2        (PLAINTIFF'S EXHIBIT 1: Marked for Identification.)

 3        (PLAINTIFF'S EXHIBIT 2: Marked for Identification.)

 4        (PLAINTIFF'S EXHIBIT 3: Marked for Identification.)

 5        (PLAINTIFF'S EXHIBIT 4: Marked for Identification.)
 6        (PLAINTIFF'S EXHIBIT 5: Marked for Identification.)
 7        (PLAINTIFF'S EXHIBIT 6: Marked for Identification.)

 8        (PLAINTIFF'S EXHIBIT 7: Marked for Identification.)
 9            Ivan Clayton, having been duly sworn by Jody-Ann
10   Ashielfie, Notary Public in and for the State of Connecticut,

11   was examined and testified under oath as follows:

12                         DIRECT EXAMINATION
13   BY MS. ROBERTS:

14       Q   Good morning, Officer Clayton.   I'm Sally Roberts, and

15   I'm representing Mr. Brown in this matter.   Have you ever been
16   deposed before?
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17       A   Maybe once or twice.

18       Q   I will just go over some ground rules for you about
19   depositions.
20           MS. ROBERTS:   The usual stipulations?

21           MS. EDWARDS:   Yeah.
22           MS. ROBERTS:   Is he going to read and sign?
23           MS. EDWARDS:   Do you want to read your deposition

24   transcript before it becomes final?

25           THE WITNESS:   No. That is fine.
                                                                   6



 1           MS. EDWARDS:   We will waive the reading and signing.
 2   BY MS. ROBERTS:

 3       Q   You are understand that you are here to give your

 4   formal testimony concerning the incident that happened on May
 5   8th with George Brown?

 6       A   Yes.

 7           MS. EDWARDS:   Objection.

 8           MS. ROBERTS:   You can answer.

 9           MS. EDWARDS:   You can answer unless I tell you not to.
10   BY MS. ROBERTS:

11       Q   You know you are under oath, and you have sworn to
12   tell the truth.   I am going to ask you a series of questions,
13   and if you don't understand any of the questions, will you

14   tell me that?
15       A   Yes.
16       Q   If we you don't tell me otherwise, we will assume that

17   you've heard and understood the question?
18           MS. EDWARDS:   Objection.   You can answer.
19           THE WITNESS:   I will ask you to repeat it.

20   BY MS. ROBERTS:

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21       Q     If you need to take a break to get some water, use the
22   restroom, you can take a break, and we will take a recess,
23   understood?

24       A     Yeah.
25       Q     There is one exception.   If there is a question
                                                                     7



 1   pending, we're going to ask you to finish the question before
 2   you take a break?
 3       A    Yep.

 4       Q    Have you reviewed any documents to prepare for today?
 5       A    Yes.

 6       Q    Other than meeting with your attorney, have you

 7   discussed this deposition with anyone?

 8       A    No.

 9       Q    This is showing you a document that was marked as
10   Exhibit 1.     There is a Schedule A attached to that.    Have you

11   brought any documents today in response to Schedule A?

12       A    No.
13       Q    I'm going to ask your attorney if there are any

14   documents that you are going to be producing today in response

15   to Schedule A?
16            MS. EDWARDS:   The deposition notice is directed to

17   him.    So whatever he has in his possession -- if he had any of
18   that in his possession, he would have brought it.
19   BY MS. ROBERTS:

20       Q    Have you seen this document here today?
21            MS. EDWARDS:   Before just now?
22            THE WITNESS:   I'm not sure.   I don't recall.

23   BY MS. ROBERTS:

24       Q    This document has requested you to bring a list of
25   things to today's deposition. So the question is whether you
                             Page 6
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                                                                    8



 1   have seen this document before today.
 2           MS. EDWARDS:   Before, as you sit here right now.

 3           THE WITNESS:   I'm not sure.
 4           MS. EDWARDS:   Okay.
 5           THE WITNESS:   I'm not sure if I did or not.

 6   BY MS. ROBERTS:
 7       Q   Well, I'm going to be asking your attorney to produce
 8   some of these documents to extent that they exist?

 9           MS. EDWARDS:   There is no question pending. What is
10   the question?

11           MS. ROBERTS:   The production of the documents that are

12   in Schedule A.
13           MS. EDWARDS:   What is the question you are asking him.

14           THE WITNESS:   What is the question?

15           MS. EDWARDS:   There is no -- yeah. What is the

16   question?

17   BY MS. ROBERTS:
18       Q   Do you have any documents that are responsive to the

19   documents that are listed and requested on Schedule A?

20       A   No.
21       Q   Do you have training certificates that you've received

22   as a police officer?
23       A   No.
24       Q   Your personnel file?

25       A   No.
                                                                    9



 1       Q   I am asking your attorney to produce this personnel

 2   file.

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 3           MS. EDWARDS: If you want to file a discovery request.
 4   you can do that.
 5           MS. ROBERTS:   It is in the discovery request.

 6           MS. EDWARDS:   I think I objected to it.
 7           MS. ROBERTS:   It was taken care of in the Schedule A.

 8   The Schedule A says notwithstanding any objections.
 9           MS. EDWARDS:   Right.   You propounded a notice of
10   deposition to the defendant, Ivan Clayton.   The defendant,

11   Ivan Clayton has answered that he doesn't have any of these
12   documents in his personal possession.   Your Schedule A was

13   directed to any other general information that I might

14   personally have or the city might personally have. It's
15   directed to him.   He brought with him what he has in his

16   possession, which is nothing.   If you would like to file

17   discovery requests in some sort of broader venue other than

18   just a Schedule A that is directed to what is in the
19   defendant's personal possession, you can certainly do that.

20   But, he can only bring what he has.

21           MS. ROBERTS:   We can take care of that at a later

22   time.
23   BY MS. ROBERTS:

24       Q   I'm handing you what has been marked as Exhibit 2.       I

25   will ask you to turn to the last page and see if you recognize
                                                                   10


 1   that as your signature.

 2       A   Yes.
 3       Q   Did you review this document before you signed it?
 4       A   Yes.

 5       Q   So these are your answers?
 6       A   Yes.
 7       Q   I would like you to turn to Number 10.     If you can,
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  8   explain your recollection of the events surrounding this

  9   statement here?
 10           MS. EDWARDS:    Is that the question?   I'm not going to
 11   allow him to answer that question.   He is not going to give

 12   you a narrative of what happened.
 13           MS. ROBERTS:    I'm asking him for a narrative.
 14           MS. EDWARDS:    I'm not going allow him to give a

 15   narrative.

 16           MS. ROBERTS:    This is a deposition.   Narratives are
 17   allowed in a deposition.
 18           MS. EDWARDS:    Well, I'm not going to allow him to do

 19   that.   If you would like to ask him a question about what

 20   happened, you can certainly do that.
 21   BY MS. ROBERTS:

 22      Q    State to the best of your recollection what occurred

 23   when you -- withdraw the question.   I'll ask a different one.

 24   I'm handing you what has been marked as Exhibit 3.      Do you

 25   recognize that document?
                                                                       11


  1           MS. EDWARDS:    Take a look at all the pages.
  2           THE WITNESS:    Okay.

  3           MS. ROBERTS:    That's my copy.

  4           MS. EDWARDS:    I wrote on it.    It just says, "Clayton
  5   Exhibit 3."
  6           MS. ROBERTS:    We had technical difficulties.

  7           MS. EDWARDS:    That's fine. I don't need it.
  8   BY MS. ROBERTS:
  9      Q    Did you prepare any part of this criminal

 10   investigation report?
 11      A    No.

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 12       Q   Have you read this document before?
 13       A   No.
 14       Q   Were you present at the scene?

 15           MS. EDWARDS:    Of what?   The document refers to several
 16   different dates and incidents.

 17   BY MS. ROBERTS:
 18       Q   Were you present at 43 Washington Terrace on May 6,
 19   2008 for the purpose of a drug raid?

 20           MS. EDWARDS:    If you recall.
 21           THE WITNESS:    I don't recall.

 22   BY MS. ROBERTS:

 23       Q   I'm showing you what has been marked as Plaintiff's
 24   Exhibit 4.    Do you recognize the gentleman in that -- can you

 25   identify what Exhibit 4 is?
                                                                     12


  1      A    Exhibit 4.   Yeah.   That's what you have down here,

  2   Exhibit 4.

  3      Q    Right.    Can you identify what that exhibit is?

  4      A    Its a picture of a man, a black man.

  5      Q    Do you recognize this gentlemen?
  6      A    No.
  7      Q    Have you encountered this gentlemen before?

  8      A    I don't know. I --
  9           MS. EDWARDS:    There is no question.
 10   BY MS. ROBERTS:

 11      Q    On May 6, 2008, did you participate in a drug raid on

 12   43 Washington Terrace?
 13      A    I'm not sure.    I've been on a lot of drug raids.   I

 14   possibly could have been. I do a lot of drug raids.

 15      Q    Let me ask you some background questions.
 16      A    Okay.
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 17      Q      Can you describe your criminal record, if any --

 18             MS. EDWARDS:   Objection.
 19   BY MS. ROBERTS:
 20      Q      That would include criminal or juvenile arrests that

 21   did not result in prosecutions or arrests.
 22             MS. EDWARDS:   Objection.   No.   Anything that is public
 23   record, you can describe, but not things that were not.

 24   BY MS. ROBERTS:

 25      Q      Do you have any arrests in the last ten years?
                                                                     13



  1             MS. EDWARDS:   You are asking him if he's been arrested
  2   in the last ten years?

  3             MS. ROBERTS:   Yes.

  4             MS. EDWARDS:   Object.
  5             MS. ROBERTS:   You can answer.

  6             THE WITNESS:   Repeat the question.

  7   BY MS. ROBERTS:

  8      Q      Have you been arrested in the lasts ten years?

  9      A      No.
 10      Q      Have you ever been convicted of any felonies?

 11      A      No.
 12      Q      Describe your educational background.
 13      A      High school graduate.

 14      Q      And what high school?
 15      A      Bullard Havens Tech.
 16      Q      Do you have any educational background beyond high

 17   school?
 18      A      A year of college.
 19      Q      Where was that?

 20      A      Sacred Heart University.

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 21      Q   So you didn't get a degree or certificate?
 22      A   No.
 23      Q   What did you do after that?

 24      A   Military service.
 25      Q   And how long were you in the military?
                                                                  14



  1      A   Four years.
  2      Q   Where was that?
  3      A   United States Air Force.

  4      Q   After that?
  5          MS. ROBERTS:   After that what?

  6   BY MS. ROBERTS:

  7      Q   What was your employment after that?

  8      A   I believe the city of Bridgeport.

  9      Q   What department?
 10      A   Police Department.

 11      Q   What year was that?

 12      A   1993, October 6th.
 13      Q   Have you been on the Bridgeport Police Force since

 14   that time?

 15      A   Yes.
 16      Q   In what capacity?

 17      A   Police officer.
 18      Q   What has your training been on the force?
 19          MS. EDWARDS:   Objection.

 20          MS. ROBERTS:   You can answer.
 21          MS. EDWARDS:   If you can.
 22          THE WITNESS:   Protect and serve the citizens of

 23   Bridgeport.

 24   BY MS. ROBERTS:
 25      Q   What division, the detective division, patrol
                            Page 12
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                                                                    15



  1   division, narcotics division?
  2      A     Patrol division, narcotics division.

  3      Q     What order?
  4      A     Patrol division first.
  5      Q     For how long?

  6      A     For about 11 years.
  7      Q     Were you switched to any other department --
  8      A     Narcotics.

  9            MS. EDWARDS:    Let her finish asking the question
 10   before you answer.     It is easier for the court reporter not to

 11   take down two people at once.

 12   BY MS. ROBERTS:
 13      Q     What year did you get into the tactical narcotics

 14   squad?

 15      A     I believe it's 2003.

 16      Q     What is your training to go into the tactical

 17   narcotics squad?
 18            MS. EDWARDS:    Objection.

 19            MS. ROBERTS:    You can answer.

 20            MS. EDWARDS:    If you can.
 21            THE WITNESS:    Tactical narcotics training.

 22   BY MS. ROBERTS:
 23      Q     What does your training consist of to become part of
 24   that division?

 25      A     Numerous training, entry training, drug training,
                                                                    16



  1   numerous training.

  2      Q     Before you are allowed to go on actual raids, I assume

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  3   you have to go through a training process and then get
  4   certified?
  5           MS. EDWARDS:   Object.

  6   BY MS. ROBERTS:
  7      Q    Is that a yes or a no?

  8      A    Excuse me.
  9      Q    Is that a yes or a no?
 10      A    No.

 11      Q    Do you have any knowledge of the plaintiff, George
 12   Brown, prior to the events on May 6, 2008?

 13      A    No.

 14      Q    Have you encountered him after the events on May 6,
 15   2008?

 16      A    No.

 17      Q    Showing you what has been marked as Plaintiff's

 18   Exhibit 7, I will ask if you can identify that?
 19           MS. EDWARDS:   Identify it?

 20   BY MS. ROBERTS:

 21      Q    If you can recognize the scene that's depicted in

 22   Exhibit 7.
 23           MS. EDWARDS:   What are you asking him to do with it?

 24   BY MS. ROBERTS:

 25      Q    Do you know what the location was of the drug of May
                                                                   17


  1   6, 2008.

  2           MS. EDWARDS:   Objection.
  3           MS. ROBERTS:   You can answer.
  4           THE WITNESS:   I don't recall.

  5   BY MS. ROBERTS:
  6      Q    Did you review any documents before today's
  7   deposition -- strike that. Have you ever been to 43
                             Page 14
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  8   Washington Terrace, Bridgeport, Connecticut?

  9       A   Possibly.
 10       Q   Were you a at 43 Washington Terrace, Bridgeport,
 11   Connecticut for a drug raid on May 6, 2008?

 12           MS. EDWARDS:   I think that's been asked and answered.
 13           THE WITNESS:   I possibly could have been there, ma'am.
 14   BY MS. ROBERTS:

 15       Q   If Exhibit 7 is 43 Washington Terrace, Bridgeport.

 16   Connecticut, would you recognize that house?
 17       A   It looks like a three family house.
 18       Q   You don't recall having been at that location before?

 19       A   I may not have.

 20       Q   Showing you what has been marked as Plaintiff's
 21   Exhibit 6, I'm going to give you a chance to review that

 22   document.   I'm going to ask you some questions about it.   Do

 23   you recall any of the incidents, any of the events described

 24   in this letter marked as Exhibit 7?

 25           MS. EDWARDS:   6, Exhibit 6.
                                                                   18


  1           MS. ROBERTS:   Exhibit 6.
  2           THE WITNESS:   Repeat that question.

  3   BY MS. ROBERTS:

  4      Q    Exhibit 6 describes an incident that occurred at 43
  5   Washington Terrace on May 6, 2008 at which you were present.
  6           MS. EDWARDS:   What's the question?

  7   BY MS. ROBERTS:
  8      Q    Does a review of this document bring to your
  9   recollection any of the events, that occurred on May 6, 2008

 10   at 43 Washington Terrace, Bridgeport, Connecticut?
 11      A    Not the events that's written on this document.

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 12       Q     As you were approaching 43 Washington Terrace for a
 13   drug raid, did you encounter a gentlemen outside of the house?
 14       A     There were several gentlemen outside of the house.

 15             MS. EDWARDS:   I am sorry.   I did not hear his answer.
 16   Can you read that question and answer back?

 17               (Question read back by Court Reporter.)
 18   BY MS. ROBERTS:
 19       Q     What is your recollection of the events for the drug

 20   raid that occurred on May 6, 2008 at 43 Washington Terrace?
 21       A     A search warrant was conducted.

 22       Q     Did you bring that search warrant with you today?

 23       A     No.
 24       Q     Did you have to file a police report?

 25       A     No.
                                                                      19


  1      Q      You didn't?

  2      A      No.

  3      Q      Is this your signature on --

  4             MS. EDWARDS:   It looks like you have three copies of a

  5   packet there.   You marked it already.    Can I see it then?
  6             MS. ROBERTS:   This was not provided by your office.
  7             MS. EDWARDS:   Okay.   That is not my question.   Can I

  8   see it?
  9             MS. ROBERTS:   Which one.
 10             MS. EDWARDS:   The one that you are looking at.

 11             MS. ROBERTS:   This was not marked as exhibit.

 12             MS. EDWARDS:   It was not.   Okay.   If you are going to
 13   ask him about it, obviously you are going to have to mark it.

 14             MS. ROBERTS:   I'm just trying to see why it wasn't

 15   produced. It says, "File Missing," at the top.
 16             MS. EDWARDS:   Okay. I can't answer any questions, and
                                Page 16
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 17   neither can he if we don't know what you are talking about.

 18   If you like to give it to me, I will take a look at it.
 19          MS. ROBERTS:    We should mark this packet as --
 20          MS. EDWARDS:    That was only part of the packet, and

 21   you took some of the pages off the front.     If you want to give
 22   me a copy of the whole packet, I will take a look at it.
 23          MS. ROBERTS:    This wasn't part of the packet.

 24          MS. EDWARDS:    I didn't say it was.   I said you have

 25   three copies of the packet.
                                                                   20



  1          MS. ROBERTS:    It says, "File Missing." Can you explain
  2   what file that is?

  3          MS. EDWARDS:    I don't know what you are taking about.

  4   I honestly don't know. I see that it says that.
  5          MS. ROBERTS:    Ivan Clayton's report wasn't in this,

  6   and it says, "File Missing."

  7          MS. EDWARDS:    Okay.   So you want to mark this as an

  8   exhibit?

  9          MS. ROBERTS:    I want to show it to you first.
 10          MS. EDWARDS:    Okay, yeah.

 11          MS. ROBERTS:    Can you mark this as Exhibit 8?
 12          MS. EDWARDS:    Can I see it?
 13       (PLAINTIFF'S EXHIBIT 8: Marked for Identification.)

 14   BY MS. ROBERTS:
 15      Q   Showing you what has been marked as Exhibit 8, do you
 16   recognize that document?

 17          MS. EDWARDS:    The question is, do you recognize it?
 18          THE WITNESS:    Yes.
 19   BY MS. ROBERTS:

 20      Q   What is your badge number, sir?

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 21       A     923.
 22       Q     Is that your signature at the bottom of that document,
 23   Ivan Clayton?

 24       A     Yes.
 25       Q     What is the number after your name?
                                                                      21



  1      A      632.
  2      Q      That's not your badge number, is it?
  3      A      No.

  4      Q      On the top of this document in box Number 5, it is box
  5   Number 5 on Page 3.      I'm not sure which page it is on that.

  6   It says, "Date of Occurrence." What is the date of occurrence

  7   on this document listed as?

  8      A      5/6/08.

  9      Q      It says on the bottom that the report prepared on May
 10   4th, two days earlier.     Was that a typographical error on the

 11   bottom?

 12      A      Where?
 13      Q      It says the date.   On the bottom on Page 2 next to

 14   your name, it says the report was prepared on May 4th.      Does

 15   that appear to be a typographical error?
 16             MS. EDWARDS:   I will object.    You can answer if you

 17   know.
 18             THE WITNESS:   Possibly.
 19   BY MS. ROBERTS:

 20      Q      Did you prepare this report, these three pages?
 21      A      Yeah, I think so.
 22      Q      So did you participate in the drug raid?

 23      A      Yes.

 24      Q      So you were at 43 Washington Terrace on May 6, 2008?
 25      A      Yes.
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                                                                  22



  1      Q   So does that refresh your recollection as to whether
  2   you've had an encounter with a George Brown before?

  3      A   Possibly.     I don't know who it was.
  4      Q   Was George Brown arrested on that date for interfering
  5   with an officer?

  6      A   Yes, George Brown.
  7      Q   Were you that officer that he was arrested for
  8   interfering with?

  9      A   Yes.
 10      Q   Can you describe your usual shifts?

 11          MS. EDWARDS:     At the time?

 12   BY MS. ROBERTS:
 13      Q   If you can recall them for back then, did you work

 14   single shifts or double shifts, what were your usual hours?

 15      A   One shift.

 16      Q   What were the hours?

 17      A   8:00 a.m. to 4:00 pm, 8:00 to 4:00.
 18      Q   Do you recall if you worked any double shifts during

 19   the week leading up to the drug raid on May 6, 2008?

 20      A   No.
 21      Q   Let me ask you, are you on any medication?     Did you

 22   take any medication today?
 23          MS. EDWARDS:     You don't have to answer that question.
 24   That's HIPAA protected.    He's not answering that.

 25
                                                                  23



  1   BY MS. ROBERTS:

  2      Q   Are you under the influence of any medications that

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  3   would affect your ability to answer truthfully any of the
  4   questions that I'm posing to you today?
  5          MS. EDWARDS:   That you can answer.

  6          THE WITNESS:   No.
  7   BY MS. ROBERTS:

  8      Q   Prior to the events on May 6, 2008, had you had
  9   anything to drink in the 24 hours prior to that event?
 10          MS. EDWARDS:   What event.

 11          MS. ROBERTS:   On May 6th, the raid on 43 Washington
 12   Terrace.

 13          THE WITNESS:   What do you mean.

 14   BY MS. ROBERTS:
 15      Q   Had you had anything to drink --

 16      A   Like water?

 17      Q   Alcoholic beverages?

 18      A   There is difference.     No.
 19      Q   Had you had any medicines in the 24 hours prior --

 20          MS. EDWARDS:   You don't have to answer that.   Ask a

 21   different question.

 22   BY MS. ROBERTS:
 23      Q   Since you are seem to be remembering that there was a

 24   George Brown that you had an encounter with on May 6, 2008,

 25   how old do you believe the plaintiff was when you had your
                                                                   24


  1   encounter with him on May 6, 2008?

  2          MS. EDWARDS:   You're asking how old he believes he was
  3   prior to the encounter.    You are asking, as he sits here now
  4   how old the guy is?

  5   BY MS. ROBERTS:
  6      Q   How old do you believe he was when he encountered him
  7   on the drug raid.
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  8       A   Don't know.

  9       Q   Do you recall that he was an elderly gentleman?
 10       A   No.
 11       Q   Do you recall whether he had a cane?

 12       A   No.
 13       Q   Do you recall if he was sitting in a lawn chair when
 14   you approached the residence?

 15       A   No.

 16       Q   Did you raise your voice during the events?
 17           MS. EDWARDS:    Objection.   At what time?
 18   BY MS. ROBERTS:

 19       Q   During the events that are the subject of this lawsuit

 20   that occurred at 43 Washington Terrace on May 6, 2008?
 21       A   Don't recall.

 22       Q   Describe to the best of your ability what you recall

 23   as you approached the residence of 43 Washington Terrace on

 24   May 6, 2008.

 25       A   We conducted a search and seizure warrant at the
                                                                   25


  1   residence.
  2      Q    Did you encounter an individual outside of the

  3   residence as you approached the residence at that date and

  4   time?
  5      A    Yes.
  6      Q    What do you recall about the individual you

  7   encountered as you approached the residence to perform your
  8   search and seizure warrant?
  9      A    An individual stepped in front of the doorway in a

 10   defensive manner with his fists out, "Saying you are not
 11   coming in my house."    That's what I recall.

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 12       Q   What do you recall about the age of that gentlemen?
 13       A   I didn't look at age. I don't see that.    I'm worried
 14   about the safety of our men going inside the house, don't know

 15   what age he was.
 16       Q   Did he appear to you to be a frail, elderly gentleman?

 17       A   No.
 18       Q   Who else was outside, if any, of the officers in the
 19   tactical narcotics squad?

 20       A   There were several. I don't recall.
 21       Q   Had anyone of your squad already entered the house?

 22       A   Yes.

 23       Q   And they had gotten past this gentleman?
 24       A   Yes.

 25       Q   If the other persons on your squad had already gotten
                                                                   26


  1   past this gentleman, why was it that you were there left to

  2   encounter and have an altercation with this gentleman?

  3           MS. EDWARDS:    Objection.

  4           MS. ROBERTS:    You can answer.

  5           THE WITNESS:    Don't know.
  6   BY MS. ROBERTS:
  7      Q    What happened next when you say the person put his

  8   hands up in a defensive gesture?
  9      A    He was taken down for the safety of the officers in
 10   the house and his safety.

 11      Q    Did he have any weapon with him?

 12      A    Don't know, could have.
 13      Q    For the safety -- were the other -- several of the

 14   offers -- how many officer had already gone into the house?

 15      A    Don't recall.
 16      Q    So whose safety -- what officers safety were you
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 17   protecting by taking this gentlemen down?

 18       A     Officers outside and officers inside.
 19       Q     Which officers were left outside?
 20       A     I don't recall.    I don't recall.

 21       Q     And what kind of a threat did he seem to pose to you?
 22       A     A threat to the safety of officers and others.
 23       Q     Did he have a gun?    Did he have a knife?

 24       A     Don't know.

 25       Q     Was he reaching up for his pockets?
                                                                         27



  1      A      I don't recall.    He had his hands up in a fighting
  2   manner.    So he wasn't reaching for his pockets.      His hands

  3   were up.

  4      Q      And then what happened?
  5      A      Then I took him down like I was trained.

  6      Q      And describe your training?

  7      A      You bring a person down, grab them by the shoulder,

  8   take them down, neutralize the situation and handcuff him for

  9   his safety and mine. That is what happened.
 10      Q      And what other officers were outside when this

 11   happened.
 12             MS. EDWARDS:   Asked and answered.
 13             THE WITNESS:   I told you.   I don't recall.

 14   BY MS. ROBERTS:
 15      Q      Then what happened next, did you handcuff the
 16   gentlemen?

 17      A      Yes.
 18      Q      Was he transported to a squad car?
 19      A      Yes.

 20      Q      Was the ambulance called?

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 21      A      No.
 22      Q      Was he put into your squad car?
 23      A      I didn't have a squad car, no.

 24      Q      Whose squad car was --
 25      A      I don't recall, someone from patrol.
                                                                       28



  1      Q      How many cars from patrol were on the scene?
  2      A      I don't recall.    I can't answer that.
  3      Q      Have you ever had any citizen's complaints filed

  4   against you?
  5      A      Not that I know of.

  6      Q      Have you ever been disiplined at your job?

  7      A      Never.

  8      Q      Have you ever had to seek treatment for anger issue?

  9             MS. EDWARDS:   You don't have to answer that.   Next
 10   question.

 11             MS. ROBERTS:   Are you instructing the witness not to

 12   answer?
 13             MS. EDWARDS:   Yes, I am.   It's HIPAA protected medical

 14   information, confidential.

 15   BY MS. ROBERTS:
 16      Q      Have you had any encounters with Mr. George Brown

 17   after the incident when you took him down?
 18      A      Not that I know of.
 19      Q      Were you the one that put together the charges against

 20   him?
 21      A      No.
 22      Q      On Exhibit 8 --

 23             MS. EDWARDS:   That's the last page of Exhibit 8,

 24   because you just took it apart.
 25
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  1   BY MS. ROBERTS:
  2      Q     Yes.   The last page of Exhibit 8 says, "George Brown

  3   is charged with interfering with an officer, 53A17A."
  4      A     Yes.
  5      Q     Are you one the that filed the charges against him?

  6      A     There is case officer that does the case for this.    He
  7   puts down the charges and everything, surveillance officer.
  8      Q     Was that part of your squad that did the raid that

  9   day?
 10      A     Yes.

 11      Q     And which one was that that put the charges down?

 12      A     Officer Rivera.
 13            MS. EDWARDS:   Just for the record, Justo or Eddie?

 14            THE WITNESS:   Eddie.

 15            MS. EDWARDS:   There are two Riveras.   So I just want

 16   to be clear.

 17            MS. ROBERTS:   Let me just a have a moment to review my
 18   notes.   Mr. Clayton, those are the all questions that I have

 19   for you today.    I told your counsel that I would be fairly

 20   brief.
 21            MS. EDWARDS:   Super.

 22            THE COURT REPORTER:     Would you care to order
 23   transcript?
 24            MS. ROBERTS:   Yes.

 25            MS. EDWARDS:   Yes, please.
                                                                     30



  1                    (Deposition concluded 11:46 am.)

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